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 8                                UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   MARIA DEL ROCIO ARCEO-RANGEL,                    No. 2:09-cr-00407-KJM-1
12                     Defendant-Movant,
13          v.                                        ORDER
14   UNITED STATES OF AMERICA,
15                     Plaintiff-Respondent.
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18                  On June 8, 2016, Ms. Arceo-Rangel filed a motion asking the court to appoint

19   counsel to review the retroactive application of Johnson v. United States, 135 S. Ct. 2551 (2015),

20   to her case. ECF No. 539. On June 14, 2016, the court issued a minute order referring Ms.

21   Arceo-Rangel’s request to the Federal Defender’s Office. ECF No. 540. On July 13, 2016, the

22   Federal Defender’s Office filed a notice that federal defender Ann C. McClintock had reviewed

23   Ms. Arceo-Rangel’s case and had written to Ms. Arceo-Rangel regarding her request for counsel.

24   ECF No. 545.

25                  On December 1, 2016, the court ordered Ms. Arceo-Rangel to show cause within

26   fourteen days why the court should not deny her request for counsel due to her failure to respond

27   to the Federal Defender’s Office. ECF No. 567. As of the date of this order, the court has not

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 1   received any response to the order to show cause. As the court cautioned it might in its prior
 2   order to show cause, the court DENIES Ms. Arceo-Rangel’s request for counsel.
 3                  IT IS SO ORDERED.
 4   DATED: March 29, 2017
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                                                    UNITED STATES DISTRICT JUDGE
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